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                                     UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION

WEARABLE SHOE TREE LLC,

                    Plaintiff,

        v.                                                         Civil Action No. 4:24-cv-334-SDJ

THE INDIVIDUALS, BUSINESS ENTITIES, AND
UNINCORPORATED ASSOCIATIONS IDENTIFIED ON
EXHIBIT 1,

                    Defendants.



                                    NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Wearable Shoe Tree

LLC voluntarily dismisses, with prejudice, its claims against the following defendants:

             •   DOE 185: ZEPOHCK (Amazon Merchant ID A2VY31W3BI8LM6)

             •   DOE 203: Nox Co., Ltd. (Amazon Merchant ID A39X5Q03LG4Z2B)

             •   DOE 240: SHOPFORYOU (Amazon Merchant ID AM36G5QAB5HUP)

             •   DOE 315: da1xiong (eBay Merchant ID da1xiong)

             •   DOE 415: yitan-7553 (eBay Merchant ID 2131389793)

             •   DOE 566: Joybuy Merchant ID Seller6-16214

             •   DOE 568: Joybuy Merchant ID Seller8-16214

             •   DOE 571: Joybuy Merchant ID Seller11-16214

             •   DOE 577: Joybuy Merchant ID Seller17-16214

             •   DOE 585: Joybuy Merchant ID Seller8-18988

             •   DOE 592: Joybuy Merchant ID Seller15-18988




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 Dated: August 20, 2024                              Respectfully submitted,

                                                     SCALE LLP

                                                     By: /s/ Charles A. Wallace
                                                     Charles A. Wallace
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                                                     James H. Creedon
                                                     Texas Bar No. 24092299
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                                                     ATTORNEYS FOR PLAINTIFF
                                                     WEARABLE SHOE TREE LLC




                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 20, 2024, I caused a true and correct copy of the foregoing
to be filed on the Court’s CM/ECF system, which served notice on all counsel of record.

                                                     By: /s/ Charles A. Wallace
                                                     Charles A. Wallace




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